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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION


MICHAEL BAZZREA, et al                      §
         Plaintiffs,                        §         Case No. 3:22-cv-00265
                                            §
v.                                          §
                                            §         Temporary Restraining
LLOYD AUSTIN, III, et al.,
                                            §              Order Requested
         Defendants.                        §

           PLAINTIFFS’ MOTION FOR A RULE 23(d) ORDER OR
            EMERGENCY TEMPORARY RESTRAINING ORDER

        Pursuant to Rule 23(d) and Rule 65 of the Federal Rules of Civil Procedure

(“FRCP”), Plaintiffs Michael Bazzrea, et al. move the Court for a Temporary

Restraining Order (“TRO”) to enjoin Defendants from discharging Intervenor

Plaintiffs Mark Byrd, Joshua Candelaria, Alexis Colasurdo, Alan Crawford, Ryan

Curry, Andrew Donadio, Brandi Flinn, Alina Lehman, Shane Nolan, A.J. Schur,

and Zack Stetzel. Plaintiff-Intervenor and U.S. Coast Guard Academy Cadets Alexis

Colasurdo and A.J. Schur will be processed out of the service by 1600, August 19,

2022.

        All of the foregoing Plaintiff-Intervenors are members of the Coast Guard

subject to the Department of Defense (“DOD”) and Coast Guard Mandates, filed a

Motion to Intervene on August 11, 2022, ECF 13, and are putative members of the

class of Coast Guard members defined in the July 25, 2022 class action complaint.

ECF 1.


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      To facilitate the prompt resolution of this dispute and prevent irreparable

harm to the Intervenor Plaintiffs, Plaintiffs further request that this Court: (1)

immediately grant Intervenor Plaintiffs’ pending August 12, 2022 Motion to

Intervene, ECF 13; and (2) direct Defendants to respond by 12:00 PM CDT today,

August 19, 2022, whether they will voluntarily agree to halt disenrollment against

Intervenor Plaintiffs Colasurdo and Schur, and by 12:00 PM CDT, August 22,

2022, whether they will extend the same treatment to the remaining named

Intervenor Plaintiffs facing mandates to retire, drop to Inactive Status, or

otherwise be discharged by Defendant Coast Guard. If Defendants decline to halt

the imminent and illegal discharge of Intervenor Plaintiffs and their attempts to

undermine Rule 23 by preventing them from joining the class actions, this Court

should issue a Rule 23(d) order or a TRO prohibiting Defendants from disciplining

or discharging Intervenor Plaintiffs until this Court acts on Plaintiffs’ pending

August 16, 2022 Motion for Preliminary Injunction. ECF 17.

                         FACTUAL BACKGROUND

      1.    On July 25, 2022, Plaintiffs brought this class action as class

representatives on behalf of themselves and all similarly situated Coast Guard

members who are subject to the DOD and Coast Guard Mandates who have

submitted a religious accommodation request (“RAR”). See ECF 1, Sec. VII, ¶¶ 103-

11, pp. 45-50. The Complaint alleges that Defendants have violated the Religious

Freedom Restoration Act (“RFRA”), the First Amendment Free Exercise Clause,

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the Fifth Amendment Due Process Clause, the Informed Consent Laws, the Public

Health Safety Act, the Administrative Procedure Act (“APA”), and Defendants own

regulations.

      2.       Also on July 25, 2022, the Commandant of the Coast Guard published

ALCOAST 270/22, directing that “all non-compliant service members … be

processed for separation.” ECF 17-11, ALCOAST 270/22, ¶ 2.a.

      3.       ALCOAST 270/22’s ambit for immediate expulsion of the “non-

compliant” includes the entire set of those who have filed for Religious

Accommodation Requests. Among the 130 total (the 5 original named and the 125

Additional) Plaintiffs currently appearing in this case, only 7 had not submitted an

RAR – and of those 7, at least 3 had medical exemptions or medical injuries from

at least one shot.

      4.       The ALCOAST comes on the heels of several federal court decisions

finding that three of the five branches of the Armed Services have been flagrantly

violating the RFRA rights of the members who applied to the process in good faith.1




1 See U.S. Navy SEALs 1-26 v. Biden, 2022 WL 34443 (N.D. Tex. Jan. 3, 2022)
(“Navy SEALs 1-26”), stay denied, 27 F.4th 346 (5th Cir. Feb. 28, 2022) (“Navy
SEALs 1-26 Stay Order”); Navy SEAL 1 v. Austin, 2022 WL 534459 (M.D. Fla. Feb.
18, 2022) (“Navy SEAL 1”), stay denied pending appeal No. 22-10645 (11th Cir.
Mar. 30, 2022); Air Force Officer v. Austin, 2022 WL 468799 (M.D. Ga. Feb. 15,
2022) (“Air Force Officer”); Poffenbarger v. Kendall, 2022 WL 594810 (S.D. Oh.
Feb. 28, 2022) (“Poffenbarger”); Doster v. Kendall, 2022 WL 982299 (S.D. Ohio
Mar. 31, 2022) (“Doster”); Colonel Financial Management Officer, et al., v.
Austin, et al., Case No. 8:22-cv-1275 (M.D. Fl.), ECF 229 (Aug. 18, 2022).
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The current Defendant Coast Guard holds the dubious distinction of granting

fewest RAR’s of all of the services, the lowest number possible – NONE – even

including those services already enjoined.

      5.     Furthermore, the ALCOAST takes the unusual step of making a level

decision to discharge all of the putative plaintiffs – including those named in this

action – that is, to summarily fire them for cause – without the benefit of any of

the Due Process rights that many of the Plaintiffs have otherwise earned. To wit:

generally speaking, members who have served more than 8 years in the Coast

Guard acquire various Due Process rights, including to an Administrative

Separation Board, Board of Enlistment, etc. See COMDTINSAT M1000.4 (Military

Separation), ¶ 1.B.5.b cf. ¶ 1.B.5.c; Accord ¶ 1.B.9.e cf. ¶ 1.B.9.f. This is particularly

true where there is an allegation of “misconduct” as the basis. Id., ¶ 1.B.17.d.

(“Discharging Members with More than Eight Years Service for

Misconduct. Commanding officers shall process all cases in which they

contemplate a discharge under other than honorable conditions for misconduct as

Article 1.B.23. of this Manual prescribes. In addition, they shall follow that Article’s

procedures if considering discharging any member with eight or more years of total

active and inactive military service for misconduct, even if contemplating an

honorable or general discharge.”(bold in original))

      6.     In these cases, however, the Defendant Coast Guard is taking the

extraordinary step of treating these Notifications of Separation under ¶ 1.B.12. –

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Convenience of the Government. See, e.g., Ex. 11, Separation Notice of Brandi

Flinn (“This is to inform you that I have initiated action to discharge you from the

U.S. Coast Guard for the convenience of the government pursuant to the provisions

of Reference (a).”) Ref (a) is COMDTINST M1000.4 (series), Art. 1.B.12.a.(7),

which states it is because “A member’s inability to perform prescribed duties,

repeated absenteeism, or non-availability for worldwide assignment.”

      7.      Presumably this is based upon the Coast Guard’s own arbitrary,

unsupportable decision to assert that “the unvaccinated” are not “worldwide

deployable.” Not only is this point factually incorrect – it entirely ignores that the

unvaccinated military Plaintiffs already served side-by-side with their colleagues,

completing the mission, during the worst of the pandemic before the existence of

these mRNA gene therapy shots – it also explicitly contradicts the CDC’s most

recent guidance, made mandatory through the Defense Health Agency’s most

recent bulletin regarding compliance with CDC Guidance for Covid-19.

      8.      The Defense Health Agency is the DOD organization charged with

mandating the entire DOD Covid-19 Response. DHA-IPM 20.004 dtd June 16,

2022, is a binding, mandatory issuance to all DOD Elements.

           Purpose. This Defense Health Agency-Interim Procedures
           Memorandum (DHA-IPM), based on the authority of the
           References (a) through (c), and in accordance with the guidance
           of References (d) through (ad), establishes the Defense Health
           Agency’s (DHA) procedures to implement instructions, assign
           responsibilities, and prescribe procedures for the DHA’s
           implementation of the DoD’s COVID-19 Vaccination Program.

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DHA-IPM 20.004, June 16, 2022.2

      9.       Attachment    2   of   the DHA-IPM has      the    “Procedures”    for

implementing the program.

            b. DoD beneficiaries and other individuals eligible to receive
            vaccines from DoD will be offered COVID-19 immunization in
            accordance with recommendations from the U.S. Centers for
            Disease Control and Prevention (CDC), its Advisory Committee
            on Immunization Practices (ACIP), FDA, and DoD guidance.
            (1) Deviation from FDA guidance or CDC recommendations will
            be published in policy.

Id. (emphasis added)

      10.      On Aug. 11, 2022, the CDC updated its Guidance for the Pandemic:

               CDC’s COVID-19 prevention recommendations no longer
               differentiate based on a person’s vaccination status
               because breakthrough infections occur, though they are
               generally mild, and persons who have had COVID-19 but are
               not vaccinated have some degree of protection against severe
               illness from their previous infection.

Ex. 1, Aug. 11, 2022 CDC Guidance, at 3 (emphasis added).

      11.      Defendants’ continued insistence on differential treatment by

vaccination status now runs directly against the CDC’s most recent guidance,

violating its own rules for implementing the program, and seemingly targets those

people who have been the worst victims of a very likely illegal violation of religious

members of the Coast Guard.




2  Available here: https://media.defense.gov/2019/Dec/09/2002222065/-1/-
1/0/CIM_1000_4.PDF
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      12.    As set forth more fully in the Complaint and the PI Motion,

Defendants have established a policy of refusal to grant any religious

accommodation requests (“RAR”) for the DoD Mandate (“Categorical RA Ban”).

On August 30, 2021, just one week after the issuance of the DoD Mandate, the

USCG adopted a new RAR process. See Compl., ¶ 56 & ECF 1-11, COMDTINST

1000.15.    COMDTINST        establishes   distinct,   centralized   procedures   for

immunization-related RARs, which must be approved by the Commandant, rather

than the commanding officers as for other requests. See COMDTINST, Encl. 1. The

new rules also require RARs and RAR appeals to be processed within 30 days, but

the USCG has uniformly failed to meet these deadlines. See Compl, ¶¶ 59-60. As a

result of these new policies, the USCG has not granted any RARs based on the latest

publicly available data. See id., ¶ 61 & Table 1.

      13.    On August 19, 2022, 125 Coast Guard members and putative class

members filed a motion to intervene in this proceeding. ECF 13. The members of

this class include the Plaintiff-Intervenors who are now being rushed out the door

shortly after the filing of this complaint on July 25, 2022.

      14.    PO1 Mark Byrd was given a Discharge Notice on Aug. 17, 2022, that

cited the reason od “convenience of the government” as the basis for discharge. Ex.

2, Byrd Discharge Notification. PO1 Byrd was one of the Moving Parties to be an

Intervenor Plaintiff. ECF 13. PO1 Byrd also filed a Religious Accommodation that

was denied and he has previously had and recovered from Covid-19. PO1 Byrd has

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more than 15 years of service after first enlisting in 2007.

      15.    PO1 Joshua Candelaria is an 18-year veteran of the Coast Guard; he

first enlisted in June of 2004. PO1 Candelaria was one of the Moving Parties to be

an Intervenor Plaintiff. ECF 13. PO1 Candelaria also filed a Religious

Accommodation (denied) and Medical Accommodation consistent with his

existing profile regarding the flu vaccine due to prior anaphylaxis (denied). His

Notice of Intent to Discharge is for the same reason as Brandi Flinn’s, supra, ¶ 7.

That is, he is being discharged less than 2 years prior to retirement eligibility for

an active duty pension for the “convenience of the government,” pursuant to Art.

1.B.12.a.(7), COMDTINST M1000.4 (series). Ex. 3, NOID for PO1 Joshua

Candelaria. He also has previously contracted and recovered from Covid-19. Ex. 4,

Decl. Of Joshua Candelaria.

      16.    Alexis Colasurdo is enrolled at the Coast Guard Academy. She was

suddenly notified that her appeal of her disenrollment was denied and she was

given a checkout sheet. She has been given until Friday at 1600 to be completely

disenrolled from the Coast Guard Academy. Cadet 3/c Colasurdo was one of the

Moving Parties to be an Intervenor Plaintiff. ECF 13. She also filed a Religious

Accommodation, which was denied. Ex. 5, Disenrollment Paperwork Alexis

Colasurdo. Ex. 6, Decl. of Alexis Colasurdo.

      17.    LT JG Alan Crawford has over 15 years of military service. He began

his career as an Army warrant officer and helicopter pilot from 2007 – 2019, when

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he accessed into the Coast Guard as a helicopter pilot and transitioned to new

aircraft. LT JG Crawford was one of the Moving Parties to be an Intervenor

Plaintiff. ECF 13. After he filed a Religious Accommodation Request, LT JG

Crawford’s temporary orders to a mandatory course were cancelled and he lost his

aircraft commander qualification and then his ability to fly helicopters at all. He

has been notified by email that he is being processed for discharge. See Ex. 7, Alan

Crawford Decl.; Ex. 8, Notification of Discharge Message.

      18.   Senior Chief Ryan Curry first enlisted in 1998 and has more than 23

years of service in the Coast Guard. Senior Chief Curry was given a Notice of Intent

to Discharge (for the same reasons as those mentioned above) and was told that he

has to submit his “voluntary” Request for a Retirement in Lieu of Discharge by

Aug. 19, 2022, or be discharged and lose his pension. He also filed for an RAR and

was denied. Ex. 9, Decl. of Ryan Curry; Emails to Ryan Curry, Ex. 10. Senior Chief

Curry was one of the Moving Parties to be an Intervenor Plaintiff. ECF 13.

      19.   Brandi Flinn’s Discharge Notice from the Defendant Coast Guard was

dated Aug. 10, 2022. Her 5+ years career in the Coast Guard is about to come to an

involuntary end. She was one of the Moving Parties to be an Intervenor Plaintiff.

ECF 13. She is a PO3 Class and is being processed under “Convenience of the

Government.” Ex. 11, Brandi Flinn Discharge Notice.

      20.   PO2 Alina Lehman has more than 12 years of service in the Coast

Guard. She received her Discharge Notice on Jul 28, 2022. PO2 Lehman was one

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of the Moving Parties to be an Intervenor Plaintiff. ECF 13. She is a PO3 Class and

is being processed under “Convenience of the Government.” Ex. 12, Alina Lehman

Discharge Notice.

      21.    PO1 Shane Nolan was one of the Moving Parties to be an Intervenor

Plaintiff. ECF 13. PO1 Nolan is being processed under the same “Convenience of

the Government” standard. Ex. 13, Shane Nolan Discharge Notice.

      22.    A.J. Schur, like Alexis Colasurdo, is a female 3/c cadet at the coast

Guard Academy. She was also one of the Moving Parties to be an Intervenor

Plaintiff. ECF 13. She also has until Aug. 19, 2022, to finish her checkout sheet and

be disenrolled from the Coast Guard. She also filed an RAR that was denied. Ex.

14, Emails to A.J. Schur.

      23.    Zack Stetzel is a PO3 in the Coast Guard Reserve. He was recently

given a change in Reserve Component Code (RCC) that dropped him from the

Ready Yeserve to the Inactive Status List. The reason listed was because he is

unvaccainted. Ex. 15, ISL Notification Zachary Stetzel. PO3 Stetzel was one of the

Moving Parties to be an Intervenor Plaintiff. ECF 13.

                                 LEGAL STANDARD

      Because of the potential for abuse in class actions, particularly those

impacting absent class members, “a district court has both the duty and the broad

authority to exercise control over a class action and to enter appropriate orders

governing the conduct of counsel and parties.” Gulf Oil Co. v. Bernard, 452 U.S.

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89, 101, 101 S.Ct. 2193 (1981). Courts have found it necessary limit Defendants’

communications      and     impose     other        restrictions   where    Defendants’

communications or actions with respect to absent class members are “misleading,

coercive, or an improper attempt to undermine Rule 23 by encouraging [absent]

class members from joining the suit.” Belt v. Emcare, Inc., 299 F.Supp.2d 664, 668

(E.D. Tex. 2003) (quoting Kleiner v. First Nat’l Bank of Atlanta, 751 F.2d 1193,

1206 (11th Cir.1985)).

      “Courts examine four criteria to determine good cause in this context: the

severity and likelihood of the perceived harm, the precision with which the order

is drawn, the availability of a less onerous alternative, and the duration of the

order.” Belt, 299 F.Supp.2d at 668 (citations omitted). If the Defendants’ conduct

is “misleading, coercive, or an attempt to undermine the [class] action,” “it will

tailor appropriate injunctions or sanctions” to prevent the improper conduct. Id.

Further, Plaintiffs must “present evidence that a potential likelihood for serious

abuse exists,” but the do not need to prove “actual harm … to justify an order.” Vogt

v. Tex. Instruments Inc., 2006 WL 4660133, at *3 (N.D. Tex. Aug. 8, 2006).

      To obtain a TRO, Plaintiffs must establish:

             (1) a likelihood of success on the merits; (2) a substantial
             threat of irreparable injury; (3) that the threatened injury
             if the injunction is denied outweighs any harm that will
             result if the injunction is granted; and (4) that the grant
             of an injunction will not disserve the public interest.




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Ladd v. Livingston, 777 F.3d 286, 288 (5th Cir. 2015). Courts may employ “a

sliding scale” to “balance the hardships … with the degree of likelihood of success

on the merits.” Fla. Med. Ass’n, Inc. v. U. S. Dep’t of Health, Ed. & Welfare, 601

F.2d 199, 203 n.2 (5th Cir. 1979)(citation and quotation marks omitted). In a case

involving the First Amendment, however, there is a presumption of irreparable

injury, such that satisfaction of the first element is dispositive for other factors.

Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S.Ct 63, 67, 208 L.Ed.2d 206

(2020) (“Cuomo”). This applies equally to violations to RFRA because it enforces

First Amendment freedoms. See, e.g., Opulent Life Church v. City of Holly

Springs, 697 F.3d 279, 295 (5th Cir. 2012).

                                      ARGUMENT

I.     THE COURT SHOULD IMMEDIATELY GRANT INTERVENOR
       PLAINTIFFS’ MOTION TO INTERVENE AND DIRECT
       DEFENDANTS .

       Intervenor Plaintiffs satisfy the requirement for intervention under Rule

24 of the Federal Rules of Civil Procedure for the reasons set forth in the Motion

to Intervene. See ECF 13. It is appropriate for the Court to grant the Motion to

Intervene immediately, first, because Defendants did not take a position on the

motion when it was filed. See ECF 13, p.5. It is now eight days letter, and

Defendants still have not taken a position or indicated whether they intend to file

a response in opposition.

       Second, Plaintiffs repeatedly asked Defendants whether they would halt


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disciplinary and discharge proceedings against Intervenor Plaintiffs. Defendants

declined to do so, stating that:

        As the putative intervenors are not currently plaintiffs in this case, our
        clients are not able to pause any disciplinary action for them.

Ex. 16, August 16, 2022 DOJ Email. Defendants have readily agreed to pause

disciplinary and discharge actions for Plaintiffs in other related challenges to the

DOD Mandate and other Armed Services, and based on Plaintiffs’ counsel’s

discussion with Defendants’ counsel, it may be that the lack of party status is the

obstacle. Frankly, Plaintiffs’ counsel are surprised that Defendants have not

agreed to do so here.

        Accordingly, to obviate the need for the Court to provide the requested

injunctive relief, Plaintiffs request that this Court direct Defendants to respond

by 12:00 PM CDT today, August 19, 2022, whether they will voluntarily agree to

halt disenrollment actions against Intervenor Plaintiffs Colasurdo and Schur by

12:00 PM CDT, August 19, 2022, whether they will extend the same treatment to

the remaining named Intervenor Plaintiffs.

II.     PLAINTIFFS SATISFY THE REQUIREMENTS FOR THE
        ISSUANCE OF AN ORDER RESTRICTING DEFENDANTS’
        ILLEGAL DISCHARGE OF INTERVENOR PLAINTIFFS.

        A.   Defendants “Convenience of the Government” Discharges Are a
        Thinly Veiled Attempt to Remove Plaintiffs from the Service
        The “Convenience of the Government” discharges, the drops to the Inactive

Status List for Reserve members, immediate disenrollment from the Coast Guard


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Academy of two cadets, the sudden move to compel decisions regarding

retirement, are all a sharp departure from previous Coast Guard policy of simply

allowing people to leave at the end of their active service obligation. The issuance

of ALCOAST 270/22 on July 25, 2022, the exact same day that the Complaint was

filed, and the injunctions being handed down for other service branches for their

flagrant RFRA violations, strongly suggests that these expedited procedures are

not a coincidence.

      B.    Defendants and Intervenor Plaintiffs Are In An “Inherently
            Coercive” Relationship.
      Defendants’ illegal, expedited discharges—completed within less than a

week for Intervenor Plaintiffs like Alexis Colasurdo—under the transparently false

pretext easily meet the standard for a coercive practice. Federal courts have

granted injunctive relief under FRCP Rule 23(d) in settings where, as here, there

is an inherently coercive relationship, such as attends employer/employee

relationships and evidence of abusive conduct by employers to prevent employees

from adjudicating their rights in the courts. See, e.g., Hampton Hardware, Inc. v.

Cotter & Co., Inc., 156 F.R.D. 630, 633 (N. D.Tex.1994)(finding coercion and

prohibiting further contact after defendant warned putative class members of the

potential cost to them, specifically advised not the participate in the lawsuit and

told them that by participating in the suit, they would be “suing themselves”). The

military’s relationship to service members is even more coercive than that found

in the private sector because service members are subject to criminal liability
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under the Uniform Code of Military Justice, and the general discharges Intervenor

Plaintiffs face will also deprive them of veterans’ benefits to which they are

otherwise entitled and the discharge categorization may preclude them from

employment with other public or private sector employers.

      Defendants’ actions far exceed those that courts have found to be sufficiently

coercive and abuse to provide injunctive relief against private sector employers. In

Pacheco v. Aldeeb, 127 F.Supp.3d 694 (W.D Tex. 2015), the Court granted an

injunction where the employer withheld pay from employees until they agreed to

drop their claims or sign an agreement that they had no claims against the

employer. Id. at 698. In Santos-Lemos v. Tasch, L.L.C., 313 F.Supp.3d 717 (E.D.

La. 2018), the court issued a protective order where the employer threatens to fire

employees and other forms of retaliation if they joined the class action. Id. at 720.

See also Recinos-Recinos v. Express Forestry, Inc., 2006 WL 197030, at *11-12

(E.D. La. Jan. 24, 2006) (granting protective order where Defendant’s agent

threatened employees and families not to join suit).

      C.     Defendants’ Illegal Discharges Are an Attempt to Undermine Rule
             23 by Depriving this Court of Jurisdiction
      Defendants are using expedited procedures to rush Intervenor Plaintiffs out

the door—while racing to slam the courthouse doors shut before they can reach

them—by discharging them before the Court can act on the Motion to Intervene.

This is a transparent attempt to undermine Rule 23 by depriving this Court of

jurisdiction. It is well-settled that former employees do not have standing to seek
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the injunctive relief Plaintiffs seek here against a former employer’s illegal or

unconstitutional employment practices or policies, see Newberg & Rubinstein on

Class Actions, § 23.11 (6th ed. June 2022 Update), because “ex-employees have no

material stake in whether their former employer is or is not enjoined from

continuing the allegedly discriminatory employment practices.” Chen-Oster v.

Goldman, Sachs & Co., 877 F.Supp.2d 113, 121 (S.D.N.Y. 2012).

      The only explanation for the extraordinary speed of the discharge process is

that they seek to remove Intervenor Plaintiffs from the reach of the Court. The

illegal, accelerated expulsions are thus no different than fraudulently obtained

releases of claims and other deceptive or coercive actions Defendants have used to

undermine Rule 23 by discouraging or preventing absent class members from

joining a class action. See, e.g., Belt, 299 F.Supp.2d at 669 (finding that misleading

and coercive communications were “intended to undermine the purposes of the

[class] action by encouraging absent class members not to join); Longcrier v. HL-

A Co., Inc., 595 F.Supp.2d 1218, 1227-28 (S.D. Ala. 2008) (granting protective

order where Defendants’ attorneys misled and deceived putative class members to

sign no-violation declarations to “effectively strip them of an opportunity to join in

the lawsuit”); Meadows v. Latshaw Drilling Co. LLC, 2017 WL 11494495 (N.D.

Tex. Mar. 8, 2017) (granting protective order where deceptive “one-sided letters”

from Defendants to employees “discourage[d] participation”). Actively preventing

absent class members from joining by illegally discharging them is an even greater

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threat to Rule 23—and certainly more culpable—than discouraging absent class

members from joining.

      D.    Plaintiffs Seek Narrow, Targeted Relief to Preserve Status Quo for
            the Short Period Required for the Court to Act on The PI Motion.
      In the preceding sections and in the attached declarations, Plaintiffs have

met their burden to “present evidence that a potential likelihood for serious abuse

exists,” Vogt, 2006 WL 4660133, at *3, due to Defendants’ coercion and attempts

to undermine Rule 23 by depriving this Court of jurisdiction. Accordingly, the

issuance of a protective order enjoining Defendants’ unlawful action is appropriate

because the proposed relief satisifies the four Belt criteria are satisfied: “[1]the

severity and likelihood of the perceived harm, [2] the precision with which the

order is drawn, [3] the availability of a less onerous alternative, and [4] the

duration of the order.” Belt, 299 F.Supp.2d at 668.

      Intervenor Plaintiffs face certain, severe and irreparable harm from

Defendants’ actions: deprivation of fundamental rights, i.e., First Amendment

religious liberties and Fifth Amendment due process rights, as well as loss of their

careers through an illegal discharge and RAR process, being stigmatized as unfit

for service based on their religious beliefs, loss of future employment

opportunities, benefits, and loss of medical care for themselves and their families.

Intervenor Plaintiff Brett Schmitt is due to be discharged on Sep. 5, 2022, and has

a pregnant wife due to give birth on Sep. 11, 2022, as just one example.



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       To prevent this harm, Intervenor Plaintiffs request narrow, targeted relief as

outlined in the Proposed Order. Specifically, Intervenor Plaintiffs simply request

that this Court order Defendants to preserve the status quo and not to further

discipline or discharge them for the short period required until this Court acts on

the August 16, 2022 PI Motion. Briefing will be completed in a little over two

weeks: Defendants’ response is due August 30, 2022, and Plaintiffs’ reply is due on

September 6, 2022. The Court will then have a full record to act on the Preliminary

Injunction Motion.

       For Intervenor Plaintiffs there is no alternative. Nor would this relief place

any burden on Defendants because they do not have to do anything differently for

the next weeks than they have for the past several months that the Intervenor

Plaintiffs have not been vaccinated. As noted above, Defendants have not even

bothered to state a position on the Motion to Intervene or inform the Court

whether they will file a response. The relief requested is relief that they have

granted as a matter of course in related actions challenging the DOD Mandate.

III.   PLAINTIFFS AND INTERVENOR PLAINTIFFS SATISFY THE
       REQUIREMENTS FOR A TRO.

       A.    Plaintiffs and Intervenor Plaintiffs Have a Substantial Likelihood
             of Success on the Merits.
       Plaintiffs address the likelihood of success on the merits of the claims in the

Complaint at great length in the PI Motion, and for the sake of brevity, Plaintiffs

will not repeat that discussion here. Intervenor Plaintiffs raise precisely the same


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claims and face the same harms as Plaintiffs, see ECF 13-2, Intervening Complaint,

and as explained above, the harms are more imminent and the need for relief more

urgent.

      B.     Plaintiffs and Intervenor Plaintiffs Will Suffer Irreparable Harm
             if a TRO is Not Granted.
      Plaintiffs and Intervenor Plaintiffs are facing imminent discharge and have

been deprived of their religious liberties protected by the First Amendment and

enforced through RFRA’s statutory protections. There can be “no question” that

these types of restrictions on religious exercise “will cause irreparable harm.”

Cuomo, 141 S.Ct. at 67; see also Elrod, 427 U.S. at 373 (plurality opinion) (“[t]he

loss of First Amendment freedoms, even for minimal periods of time,

unquestionably constitutes irreparable injury.”).

      Plaintiffs and Intervenor Plaintiffs face irreparable harm from Defendants’

improper interference in the class certification process and their attempts to

eliminate Intervenor Plaintiffs through illegally discharging them.

      Intervenor Plaintiffs face irreparable harm from imminent discharge

because the “circumstances surrounding [their] discharge, together with the

resultant effect on the employee … so far depart from the normal situation that

irreparable injury may be found.” Sampson v. Murray, 415 U.S. 61, 90, 94 S.Ct.

937 (1974). Plaintiffs meet this high standard “because these injuries are

inextricably intertwined with Plaintiffs’ loss of constitutional rights,” and because

“[t]he crisis of conscience imposed by the mandate is itself an irreparable harm.”
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Navy SEALs 1-26, at *13 (citation omitted). In addition to the intertwined

constitutional violations, Plaintiffs meet the Sampson standing because they will

be “discharge[d] without an individualized assessment of their fitness for

continued service and for reasons unrelated to their ability to service,” coupled

with a discharge with a misconduct characterization and stigmatic injuries that

cannot be “address[ed] … through post-discharge intra-service procedures.” Roe,

947 F.3d at 218.

      Plaintiffs and Intervenor Plaintiffs and class members risk loss of

retirement eligibility with more than 15 years of service, or being dropped into the

IRR, resulting in irreparable harm from the loss of military medical insurance for

themselves and family members. See, e.g., ECF 1-4, Jorden Decl., ¶ 19. It is well-

settled that the loss of medical coverage, particularly for dependents with special

needs or undergoing lifesaving medical treatment in itself constitutes irreparable

harm. See, e.g., Camacho v. Texas Workforce Comm’n, 326 F.Supp.2d 794, 802

(W.D. Tex. 2004). Conversely, forcing Plaintiffs to accept unwanted medical

treatment and, “requiring a person to submit to an inoculation without informed

consent or the presidential waiver is an irreparable harm for which there is no

monetary relief.” Rumsfeld I, 297 F.Supp.2d at 135.

      C.     The Balance of Equities and Public Interest Favor Granting TRO.
      A TRO is proper when “the balance of equities tips in [its] favor, and thatan

injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555

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U.S. 7, 20, 129 S.Ct. 365 (2008). “These factors merge when the Government is

the opposing party.” Nken v. Holder, 556 U.S. 418, 435, 129 S.Ct. 1749 (2009).

“[I]t is always in the public interest to prevent the violation of a party's

constitutional rights.” Campaign for S. Equal. v. Mississippi Dep't of Hum.

Servs., 175 F. Supp. 3d 691, 711 (S.D. Miss. 2016) (citation and quotation marks

omitted).

      The balance of equities strongly weighs in favor of issuing a TRO. Intervenor

Plaintiffs face irreparable harm from illegal discharge. Plaintiffs Calosurdo and

Schur have just hours before they are both kicked out of the Coast Guard Academy.

Plaintiff Intervenors stand to lose everything.

      Defendants’ “unclean hands” weigh strongly against claims in equity.

Defendants’    illegal   vaccine   mandate,       categorical   ban   on   religious

accommodations, and now illegal “Needs of the Service” expedited discharges are

the reason why Intervenor Plaintiffs need an emergency injunction. Further, the

requested relief does not impose any burden on Defendants because they do not

have to do anything differently for the next weeks than they have for the past

several months that the Intervenor Plaintiffs have not been vaccinated. The relief

requested is relief that they have granted as a matter of course in related actions

challenging the DOD Mandate, yet have inexplicably withheld for Plaintiffs and

Intervenor Plaintiffs.




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IV.     CONCLUSION

        This Court should grant the relief requested herein and in the Proposed

Order, namely:

        (1) Immediately grant Intervenor Plaintiffs’ pending August 12, 2022

           Motion to Intervene, ECF 13;

        (2) Direct Defendants to respond by 12:00 PM CDT today, August 19, 2022,

           whether they will voluntarily agree to halt disenrollment proceedings

           against Intervenor Plaintiffs Colasurdo and Schur and by 12:00 PM CDT,

           August 22, 2022, whether they will extend the same treatment to the

           remaining named Intervenor Plaintiffs;

        (3) If Defendants decline to halt disciplinary and discharge proceedings

           against Intervenor Plaintiffs, this Court should issue a Rule 23(d) order

           or a TRO enjoining Defendants from discharging or disciplining

           Intervenor Plaintiffs until this Court acts on Plaintiffs’ pending August

           16, 2022 Motion for Preliminary Injunction, ECF 17; and

        (4) Granting any other appropriate relief to preserve the status quo for

           Intervenor Plaintiffs and protect the integrity of the class action process.

Dated:        August 19, 2022           Respectfully submitted,

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                                   Attorneys for the Plaintiffs



                     CERTIFICATE OF CONFERENCE

      This is to certify that counsel for Plaintiffs and Defendants conferred

regarding the foregoing Motion by email on August 16, 2022. Defendants oppose

this Motion.

Dated: August 19, 2022

                                         Respectfully Submitted,

                                         /s/ Dale Saran
                                         Dale Saran




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                         CERTIFICATE OF SERVICE

     This is to certify that I have on this day e-filed the foregoing Motion using

the CM/ECF system.

Dated: August 19, 2022                     Respectfully Submitted,

                                           /s/ Brandon Johnson
                                           Brandon Johnson




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